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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   § CASE NO. 6:15-CR-00026-JRG
v.                                                 §
                                                   §
                                                   §
JOHN JOSEPH MALLON                                 §
                                                   §

                     ORDER ADOPTING THE MAGISTRATE JUDGE'S
                         REPORT AND RECOMMENDATION

        The court referred a second amended petition alleging violations of supervised release

 conditions to the Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont,

 Texas, for consideration pursuant to applicable laws and orders of this court. The court has

 received and considered the Report of the United States Magistrate Judge filed pursuant to such

 order, along with the record, pleadings and all available evidence.

        At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn

 recommended:

 1.     that the court find that the Defendant violated the first allegation in the second amended
        petition that he failed to follow a standard condition of release;

 2.     revoking the Defendant’s supervised release pursuant to 18 U.S.C. § 3583; and

 3.     the Defendant should be sentenced to a term of 10 months’ imprisonment, with one year
        of supervised release to follow, which includes 180 days of community confinement.
        His term of imprisonment should be served at the Federal Correctional Institute in
        Texarkana, if the Bureau of Prisons can accommodate such request. The court adopts the
        magistrate judge’s findings for the imposition of the special conditions of supervised
        release.

        At the close of the revocation hearing, the Defendant, defense counsel and counsel for the

 Government each signed a standard form waiving their right to object to the proposed findings
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 and recommendations contained in the magistrate judge’s report, consenting to revocation of

 supervised release and imposition of the sentence recommended. The Defendant also waived his

 right to be present with counsel and to speak at sentencing before the court imposes the

 recommended sentence.
     .   Accordingly, the findings of fact and conclusions of law of the magistrate judge are

 correct and the report of the magistrate judge is ADOPTED. It is therefore

         ORDERED and ADJUDGED that the petition is GRANTED and John Joseph Mallon’s

 supervised release is REVOKED.

         Judgment and commitment will be entered separately, in accordance with the magistrate

 judge’s recommendations.


         So ORDERED and SIGNED this 29th day of June, 2020.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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